Case 18-11687-reg Doc 10 Filed 10/14/]8 Page 1 oi§

 

Fi|l in this information to identify your case and this filing:

Debtor1 €raig Wiliiam Bradiey

 

Firsi Nsmo 'Miooio Name l Lasi Narna

Debtor 2

 

(Spouse. if iiling) Firsl Name Middle Name Last Name

Un`ited States Bankruptcy Court for the: NORTHERN DlSTRiCT OF lNDlANA

 

Case number 18-11687

 

 

 

Officia| Form. lOSA/B

. A/n¢'/\/DED
Schedu|e AlB: Property.

 

|
i
l shock ii this is an
amended filing

 

12!15

 

in each category, separately list and describe items. List an asset only once. if an asset fits in more-than one category, list the asset in the category where you

think it fits best. Be as complete and accurate as possibie. if two married people are filing together, bo h are equally responsible

Answer every question. '

for supplying correct

information. if more space is needed, attach a separate sheet to this forrrt. On the top of any additional ges, write our name and case 'number (if known}.
i * " ‘

Descripe Each Resitienoe, Buiiding, i.and', or other neal Es_tote you own or nave an interest in 1

 

|
1. Do you own or have any legal or equitable interest iri any residence, building, land, or similar proper§) ? '

m No. Go to Part 2.'
- Yes. Where is ih‘e property?

1_1 _ What is the property? Cl'ieck ali ihlai apply
13216 Lake Everett Dr `

 

 

 

 

 

 

 

- Single-farnily home
Sireet address il availablel or other description ' m Dup§ex cr muni_unit building
g Condominium or cooperative
§ |'_`[ Mariufactured or mobile home j §
g Current value oft e Current value of the
Fort Wayne lN 46818-0000 ij Lar_id i entire property?§ portion you own?
city ' ' state ziP Cooe ij investment property § $81,00:0.9"0_ _ $8'| ,000.00
n Timeshare ' , . .
g m § Describe the nature of your ownership interest
0 ar _ § (such as fee slmp| a, tenar§cy by the entireties, or
Who has an interest in the property? Check ore § a me estate}' if kr.‘°`w"' -
ij Debtori only z Joint tenant § §
Allen |'_`l Debtor 2 only § `
county 13 Debtori and oebiorz only mack _f th_ ii .ty
§ c is communi prope
- Al least one of the debtors and another i_ n sf | ny

other information you wish to add about th"

property identi§cation number:
Ex-Wife's home

(see inslmction`s) -

s item, such as local

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including
pages you have attached for Part1. Write that number here...........

l

 

any §eritries for

 

moeocrme your vehicles

=>

 

 

$81 ,000.00

 

 

be you own, lease, or have legal or equitable interest in any vehicles, whether they are regi§iere§d or not? lnc|ude§a ny veh"cles you own that

someone else drives lf you lease a vehicie, aiso report it on Schedule G: Executory Contracts an

Officiaf Fol’m 106A/B
So?lwars Cnpyright (i:] 1996-20‘§8 Best CaSB, LLC ~ wivw`l?estnase,c:um

Schedule Ale Propeity

 

Une§rpi‘red l_eases.

 

 

§ page 1
asst Case Benl<ruptcy

 

Case 18-11687-reg Doc 10 Filed 10/14/

Debtori Craig William Bradley_

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

§:l l\io

- Yes

3.1 nunez Dodge
under Journey
Vear: 2010

 

 

 

 

Who has an interest in the property? check one -

- Debtor‘l only
§:l Debtor 2 only

1

(

.ase§ number (r'ri<nown,i§

= z i
8 Page 20f9 §
`18~11§

§

 

Current value of the

687

 

Current value of the

 

 

 

 

 

Approximalie mileage! 200,000 §:l Debtori and Deblor 2 only entire Prbpe"ty?§ P°"ti°n you °W"?
Other information: §:l At least one ofthe debtors and another § `

m Check if this is community property $7’00°'00 $7r000'00

(see instructions) '
= 3_2 Make; Plymouth Who has an interest in the property? check one

Modei: 'Dl-|Siie|" - Debtor1 only
‘/€arf 1972 |:| Debior 2 only current value or§t r,- current value ortne
Approxlmate mileage: 47637 §:l Debtor 1 and Debtor 2 only E"fi"e PF°PE"W?§ p°""-i°" Y°ll °W"?
Other information: l:i At least one of the debtors and another ` §

m Check if this is community property l $5:509-00 $5=500-00

 

 

 

(see inslruciions)

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehiclesl other vehicles, a
Examples: Boats, trailers, motors, personal watercra|t, fishing vessels, snowmobiles, motorcycl

- No
§:l Yes

5 Adci the dollar value of the portion you own for atl of your entries from Part 2 including

pages you have attached for Part 2. Write that number here...

montana vour Peroonai and Househoid items

 

 

 

 

 

6‘l Household goods and furnishings
Examples.' lViajor appliances furniture, |i'nens, china, kitchenwa re
l:i No

. _Yes. Describe.....

:\
.»

c

................... =>

nd accessories
accesso ri es

ny entries for

 

$12,500.00 n

 

 

 

 

 

 

 

§ Assorted furniture and household items

 

  

$800.00

 

7. Electronics

Exampiss: Teievisions and radios; audio, video, stereo, and digital equrpment; computers, printers, scanners; music collection

including cell phones, cameras, media piayers, games

l:i No
l res Descr`ibe.‘._.

 

 

§ smart phone, comp_uter, tv, assorted household electronics §

s; electronic devices

$1,000.00

 

8. Collectibles of value

Examples`.' Antiques andl flgurines; paintings prints, orotherartwork; books pictures orother
other collections memorabilia coilectibles

l No
|:i ¥es. Describe.....

Officiai Form 106A/B

Schedu|e_ AlB: Property

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t objecis; stamp, coin§ or base

bali card collections;

page 2

Besi Case Bankruptcy

 

 

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l

 

Case 18-11687-reg Doc 10 Filed 10/14/1

Debtor 1 Ct'aig William Bt'adl€y

9 Equipment for sports and hobbies §
Examples. Sports, photographicl exercise, and other hobby equipment; bicycles pool tables,
musical instruments

}ase number rifknown)§

,§lolf ciubs, skis; canoes§a

 

 

8 §PageSoiQi

§

§

_ 18-1§687

§

nd kay§aks; carpentry too|s;
l

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. No §
l:l ¥es. Describe ..... §
10. Firearms _ §
Exemples: Pistols, rifles, shotguns, ammunition, and related equipment l
§:l No §
l Yes. Describe ..... - § :
§ Handgun _ $500.00
'11. clothes §
Examples: Everyclay clothes, furs, leather coats, designer wear, shoes, accessories
§:§ No
- Yes. Describe .....
|Aeeorted clothing § § l _ $300.00
l l
12. Jewe|ry § §
Examples. Everyday jewelry, costume jewelry, engagement rings wedding rings, heir|oom je'we|ry, watches gems g :il|cls si|\§ er
§:§ No § - l
- ¥es. Describe ..... §
\watoh _l $25.00
13. Non-farm animals §
Examples: Dogs, cats, birds, horses §
. No
§:l Yes Describe.. § §
14. Any other personal and household items you did not already iist, including any health aids you did not list §
l No §
§:l ¥es. Give specific information ..... § §
l l
§ i §
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you t§iave attached §
for Part 3. Write that number here.. __, _ § . l $2,625.00
|
|
l

Describe ‘four Financia| Assets

 

    

 

 

 

 

 

16. Cash
Examp!es: Nloney you have in your wallet in your home, in a safe deposit box and on hand yu

l No ‘ §

l:l Yes

17. Deposits of money

Examples: Checklng, savings or other i' nanclal accounts; certificates of deposit shares in credit unions, brokerage houses,

institutions if you have multiple accounts with the same institution, list each §

heniyou tile your petitio

§
and other similar

 

 

 

E:| No §
l res ........................ ` *“St§*“t§°“ “ame: l
i §
checking and ' § §
17.1. savings We||s Fargo ' § _$400_90
Ofticial Form ‘lOGA!B Schedule Al_'B: Property page 3

 

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SSst Case Bankruptcy

 

CaSe 18- 11687- reg Doc 10 Filed 10/14/§18 § Page 4 Of§B

Debtori Craig Wii|iam Bradiey §(~35€ number (ifk"°W")§ 18-11§687

18. Bonds, mutual funds1 or publicly traded stocks § § §
Exampies. Bond funds investment accounts with brokerage firms money market accounts § §, : - l

- No § §
l:l Yes institution or issuer name: § § l §
19. dion-publicly traded stock and interests in incorporated .and unincorporated businesses, including a§n lnteresi§.in an §§LLC, partnership§ and
joint venture § § § § §
§l No § - § §
l:l ¥es. Give specific information about tnem................... § § : §
Name of entity:

 

% of owne rship:

20. Government and corporate bonds and other negotiable and non-negotiable instrlllmeni:sl
Negotl'abie instruments include personal checks cashiers cna_cks, promissory notes, and mo ey orders.
Non-negotr'abie instruments are those you cannot transfer to someone by signing or deliverng them.

i
. i
§ § : i
l No § j l §
lj ¥es Give specific information about tl'lem " §
issuer name:

.Retirement or pension accounts § ' 5
E)§ramp!es: lnterests' ln lRA, ER|SA, Keogn, 401 (k) 403(b) thrift savings accounts, or other p§e §nsion or pront-sharlng§ plans
- No § l

l:l ¥es. List each account separateiy.

Type of account _ institution name:

22. Security deposits and prepayments ‘ l - l
Your share of ali unused deposits you have made so that you may continue service or use fro'n a company § §
Exampies. Agreements with landlords prepaid rent public utilities (electric, gas, water), teiec§:t mmunications companies or others

l No

l:l Yes _____________________ institution name or individuai:

23. Annuities (A contract for a periodic payment of money to you either for life or for a number o§§f years)
l No
ij Yes............. issuer name and description

 

1 § §
24. interests in an education iRA, in an account in a qualified ABLE program, or under a qua ified state tuition program
26 u.s.c. §§ saolblrl), 529A(b), and 529(b)(1). _ 1 l z
- NO l § - 5-
|:| Yes _____________ institution name and descriptionl Separat§eiy file tile records of any interests.ii U.S.C. § 521 (c)§:

 

25. Trusts, equitable or future interests in property (other than anything listed' rn line 1), and§ rights or powers exercisable ~for your benefit
- No § § ‘ § "
l:l Yes. Give speciiic information about them... l §
' §
26. Pate§nts, copyrights, trademarks, trade secrets, and other intellectual property §
Exampies' |nternet domain names, websites, proceeds from royalties and licensing agreements
- No §§
ij ¥es. Give specific information about them... §

27. Licenses, franchises, and other general intangibles ' '
Exampies. Buiiding permits, exclusive licenses. cooperative association holdings liquor |icen§ses professional licens§§e=

l No
lj Yes, Give specific information about them...

3

 

 

 

 

 

28. Tax refunds owed to you § f - §
. _§ _ §

' N° - § ‘

l:l Yes. Give specific information about them, including whether you already fried the returns anc the tax years..._...

Offlciai Form iOSAl'B - - Scl'leduie AlB: Property § § ` page 4

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CaSe 18- 11687- reg Doc 10 Filed 10/14/18 Page 5 of 9 §
Debtori Craig Wil liam Bradley -§Case numbermnown) 18_1§1687
§

29 Famiiy support § 1
Examples: Past due or lump sum alimony, spousal support, chiid support, maintenance divoi'ce settlement property settlement

|

- No §

i:i ‘(es. Give specific information...... § §

30 Other amounts someone owes you §
Exampies: Unpaid wages disability' msuranoe payments disability benefts sick pay vacatio pay, workers' comper'sation§, Sociai Security
beneiits', unpaid loans you made to someone else 1

l No
Ci Yes. Give specific infonnation..

. .....,,_ ...... _.W. :_..“_.s ._,__._1

l.nterests in insurance policies
Examples: Heaith, disability orfife' insurance; health savings account (HSA),' credif, homeowners or renters insurarce

INo

ij Yes. Name the insurance company of each policy and list its value.
Company name: Beneflcia

Surrender or refund
§ialue:

`_...__,j . ;;___:2_.."_1`__-1,_...

 

32 Any interest' 1n property that' 1s due you from someone who has died

if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive pr€iperty because
someone has died §

-l No ` _ §
i:i Yes. Give specific information..

g

33. Ciaims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples.' Accidents, employment disputes insurance claims, or rights to sue §

- No _ ;:
i:i ‘(es. Describe each claim... _ §

34 Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set offl claims
l No § § 1 i

i "
Ci Yes. Describe each claim......... ` §
i

35. Any- financiai assets you did not aireacly iist ‘_
I No § §
i:i Yes. Give specific information..
1
' -§
36 Add the doliar vaiue of ali of your entries from Part 4, inciuding any entries for pages you have attached

 

 

 

 

 

 

 

for Part 4. Write that number here ....... .§ ; $400-00
Describe Any Business~Reiated Property You Own or i-lave an Interest in. List any real estate in§Parti. l
=i ' '
37. Do you own or have any legal or equitable interest in any business-related property? §
.No.GotoPartc. _ § §
i:i Yes. co to iine 3a § j
. §
Describe Any Farm- and Commerciai Fishlng- Retated Property ¥ou Own or Have an interest in § . . j §
lfyou own or have an interest' 1n farmland usf it in Part 1. ; § 1 _ § §
46. Do you own or have any legal or equitable interest' m any farm- or commercial fishing-rei§atecl property?
l No. eo 10 Part 7. 7 §
i__..i Yes. Go to line 47. l §
1 § §
monica Aii Property ‘rou Own or Have an interest |n lThat You Did Not List Ahove _ §
` ' l
= 1 1
53. Do you have other property of any kind you did not aiready tist? z § §
Exampies: Season tickets, country club membership §
l No ._
ij ‘(es. Give specinc information......... §
§
Of&ciai Form 106A/B _ Schedu|e Ale Property § page 5

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Debtor 1

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` 56.
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63.

Case 18-11687-reg Doc 10 Filed 10/14/1:8 l Page 6 of 9

 

 

 

 

 

 

 

 

 

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craig william Bradley Ga-°>€ number f""k"°W"ij _`13-11687
54. Add the dollar value of all of your entries from Part 7. Write that number here ..................... $0_00
List the rawls of each Pari or this Form _
Part 1: Total real esla:e, line 2 . ` 1 $31,900,00
Part 2: Total vehicles, line 5 $12,500.00 '
Part 3: Total personal and household items, line 15 $2 625.00
Part 4: mac financial assets, line 36 $400.00
Part 5: Tctal business-related property, line 45 $0_00
Part s= rural farm~ and fishing-related propercy, line 52 $o.oo
Part 7: Total other property not listed, line 54 - + $0_00
Total personal property. Add lines 56 through 61 $15 525_00 Cc py personal property total l $15,525_00
Total of all property on Schedu|e AIB. Add line 55 + line 62 $96,525_00
l l
§ §
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official Form ioeA/B schedule A/B; Properiy z page 6

Besl Case Bankmplcy

Case 18-11687-reg Doc 10 Filed 10/14/18 Page 7 Oi §

  

Filt in this information to identify your case:

Debtori CraiLWi||iam Bradley

First Narne Midd|e Name Last Nama v

 

Debtor 2

(Spouse if, filing) First Name N|lddle Name Last Narrle ' !

 

Unite`d States Banltruptcy Court for the: NORTHERN DlSTRlCT OF lNDlANA

 

'Case number 13.11687 § t

(lf known)

 

l check if this is an
amended filing
l `i

 

otilcial Form 1060 AM£/\/Dé'@ l _
Schedule C: The Property You Claim as Exem§_pt - _ _4its

l

 

l
l

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct informationl Using

the property you listed on"Schedule A/B.' Properiy'(Ofticlal Form 106AIB) as your source, list the pr,operly that you claim as exemptl lf more space is
needed. fill out and attach to this page as many copies of Part 2:Addr'iional Page as necessary. Q'n the top of any additional pages, write your name and
case number (lf known). ` - t § t §
For each item of property you claim as exempt, you must specify the amount of the exempti;on you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternativeiy, you may claim the full fair market value of the property being exempted ‘up to the amount of
any applicable statutory limit. Some exemptions-such as those for health a`ids, rights to receive certain benefits, and tax-exempt retirement
funds-may be unlimited in dollar amountl However, if you claim an exemption of 100% of f:air market value unde a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your'ej emption would be limited
to the applicable statutory amount. ' t ‘ l ‘. `

__ldentify the Property You Claim as Exempt §

- i
1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

- You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

l:l You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

   

a

: § t xi
§ ;§x§;.ii. nw
anita

      

 

13216 Lake Ever`ett or Fort wayne, in $81,00¢_00 ‘ . = i $2 125_00 lnd. cfpde §§,34-55-10_2(¢)(2)
46818 Alle'n County ` _ '_--___ _-»_~_~»W_’~_ g `
Ex~Wife's horne n 100% of fair market value, up to §

Line from Schedule A/B: 1.1 any applicable statutory limit §

2010 Dodge Journey 200,000 miles $7 000 00 . ` so 00 lnd. _C§t>de §§34-55-10-2(c)(2)

Line from Schedule A/B: 3.1 _

m 100% of fair market value, up to :
` any applicable stattjltow limit i

 

Line from Schedule A/B: 3.2 `

z

1972 Plymouth ouster 47631 miles $5,500_00 l ‘_ §|$5;500_00 lnd. cede §§34-55-10-2(¢)(2)

n 100% of fair market value, up to =
any applicable statutory limit _ §

 

 

Assorted furniture ana household $800_00 . $300_00 lnd. cede § 534-55-10-2(c)(2)
items § __-_- W“ § §
Line from Schedule A/B; 6.1 , 13 100% of fair market value] up to 1:
- any applicable statttory limit z
. § l
l § l §
smart phone, computer, tv, assorted - $`1 000_00 - l - §$1 000_00 lnd_. Code § 34~55-1`0-2(c)(2)
household electronics - *_-'_- __»-_--4_'~_- §
Line from Schedule A/B: 7.1 n 100% of fair market value, up to

 

any applicable statutory limit

 

Off:cia| Form 1060 ' Schedule C: The Property You Claim as Exempt §
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page 1 of 2

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1 Elest Case Bankn.tpicy
‘ l

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123-11an

1
Debtor1 Cratg William Br'adley Case number (if known)

  

|-!andgun
Line from Schedule A/B: 'lD."l

 
   

$500.00 l . 1 $soo.co

g 100% of fair market valuel up to
any'applicable statutory iimit

 

 

Assorted ctothing $300_0@ - 51 $30@_ 00 lnd.iC`

Line from Schedule A/B: 11.1

m 100% of fair market value, up to
any applicable statutory limit

ode § 34-55»10-2(c)(2)

 

Wat°h $25.00 l 1 $25. 00 '"d-’Q

Line from Schedule A/B: 12.1

g 100% of fair market vaiue up to
any applicable Statutory limit

ode §_34-55-10-2(el(2)

 

checking and savings: Wells Fargo $400 co - l lnd. C

. 1 $400.00
Line from Schedule A/B: 17.1 m 1

1:1 100% of fair markat valuex up to
any applicable statutory limit
. . j

otte § 34-55-10-2(¢:)(3)'

 

3. Are you claiming a homestead exemption of more than $160 375? !
` (Sublect to adjustment on 4/01/19 and every 3 years after that for cases fled on or after the date of adjustment )

l No
l;l Yes. Did you acquire the property covered by the exemption within 1,215 days before you; liled this case?

1:1 No `
g YeS 1
1

1

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: 1

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Official Form 1060 Schedule C: The Property You Claim as Exempt 1
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page 2 of 2

Best Casa Elankruplcy

CaSe 18-11687-reg. Doc 10 Filed`10/14/`118' Page 9 of 91
.= z `

F`l|| in this information to identify your case:

Debtor1 'Craig Wi||iam Bradley
First blame lviidd|e Name Last Name

Debtor 2
(Spouse if‘ filing) First Name Middle Narne . Last Name

 

United States Bankruptcy Court for the: NORTHERN DlSTR|CT OF INDEANA

 

Case number 18-1 1 687

{if known}

 

 

 

Otficia| Form 106Dec
Declaration About an individual Debtor' s Schedules

lf two married people are filing together, both are equally responsible for supplying correct information

' l Qheck`ifthis is an
amended filing '

121'15

\'ou must file this form whenever you file bankruptcy schedules or amended schedules Making a false statementi, concealing property, or
obtaining money or property by fraud' m connection with a bankruptcy case can result' ln fines up to $250, 000, or1imprisonment for up to 20

years, or both.18 U .S .C. §§ 152 1341 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out banl{ruptcy torms?

 

.No - 11 `1

1 g Yes. Name of person Attach Bankruptc§/ Petition Pre,oarer-'s Notice,

1 1
i 1
l 1

Under penalty of perjury, l declare that | have read the summary and schedules filed with this declaration and
that they are true a 1 1

x// M%Z,s%/ . 1

1 Declaration, and $ignatc`lre (Ofnciai Form 119)

 

 

 

 

 

Craig Wi¥`l BFadiey Signature of Debtor 2
Signature Debtor 1 - 1 1

care /U -~/?- “' fm - - pate 1
1 1
i 1
1
1 i
1

' 1

Ofiiciai Form 106lJec Declarati_on About an individual Debtor’s Schedules

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